        Case 1:21-cv-01226-CLM Document 14 Filed 03/21/22 Page 1 of 4                       FILED
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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION

 CANDACE RIVERS
                           Plaintiff,
       v.                                     No. 1:21-CV-01226-CLM


 NOOM, INC.
                           Defendant.


               DEFENDANT NOOM’S MOTION TO DISMISS
      Defendant Noom, Inc. (“Noom”) respectfully moves this Court to dismiss all

claims asserted against it in Plaintiff’s Amended Complaint pursuant to Federal

Rules of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6). As grounds for this

motion, Noom states as follows:

      1.     The Amended Complaint should be dismissed under Rule 12(b)(2) for

lack of personal jurisdiction. Plaintiff cannot establish that the Court has general or

specific jurisdiction over Noom because the Amended Complaint does not allege

that Noom has any contacts or affiliations with Alabama, or that it otherwise

purposefully availed itself of the protections of Alabama’s laws.

      2.     The Amended Complaint should be dismissed for improper venue

under Rule 12(b)(3) because Plaintiff alleges no contacts or affiliations between

Noom and Alabama in her amended pleading.
        Case 1:21-cv-01226-CLM Document 14 Filed 03/21/22 Page 2 of 4




      3.      Count I of the Amended Complaint (Alabama Right of Publicity Act,

Ala. Code § 6-5-772) (“AROPA”) should be dismissed for failure to state a claim

upon which relief may be granted under Rule 12(b)(6) because the Amended

Complaint does not allege that the advertising at issue was directed at Alabama, and

the Alabama statute is presumed not to operate extraterritoriality, contains the

limiting clause “in this state,” and would be placed in constitutional jeopardy,

including under the dormant Commerce Clause, if not construed with such a

geographic limitation.

      4.     Count II of the Amended Complaint (Right of Privacy - Appropriation

Tort) should be dismissed for failure to state a claim upon which relief may be

granted under Rule 12(b)(6) because it is entirely duplicative of Count I and, in any

event, should be dismissed for the same reasons as Count I.

      5.     Count III of the Amended Complaint (Invasion of Privacy) should be

dismissed for failure to state a claim upon which relief may be granted under Rule

12(b)(6) because Count III does not fit any recognized type of invasion-of-privacy

claim under Alabama law given the core of Plaintiff’s allegations is that Noom

infringed on her right of publicity, not of privacy.

      WHEREFORE, PREMISES CONSIDERED, Noom respectfully requests that

the Court dismiss all claims asserted against it in the Amended Complaint.




                                           2
     Case 1:21-cv-01226-CLM Document 14 Filed 03/21/22 Page 3 of 4




DATED:   March 21, 2022

                            Respectfully Submitted,

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                                   3
        Case 1:21-cv-01226-CLM Document 14 Filed 03/21/22 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on March 21, 2022, I have electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following attorneys of record:

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                                                    /s/ Jay M. Ezelle




                                           4
